       Case 1:18-cv-00755-JTN-ESC ECF No. 19-1 filed 10/19/18 PageID.80 Page 1 of 6
amazon services·

 Game Room Guys Plastic Web Pool Billiard Table Pockets - Set of 6 (View arnazo;1 det2lii page)



                                                       ASIN: BOOSECU2MO
                                                       Product Name: Game Room Guys Plastic Web Pool



  Ill                                                  Billiard Table Pockets - Set of 6
                                                       Product ID: 840639114736
                                                       Product ID Type: upc
                                                       Manufacturer: Game Room Guys


  Ill                                                  Brand Name: Game Room Guys
                                                       Category (item-type): billiard-table-pockets

                                                       Marketplace: US

                                                       Competing Marketplace Offers
                                                       2 £-,Je·:s from $29.69 + $0.00 shipping

                                                       Amazon Sales Rank: 88,093



 Vital Info     Variations              Ccrnp~ia11c2       Irt,ages


 More Details
       Case 1:18-cv-00755-JTN-ESC ECF No. 19-1 filed 10/19/18 PageID.81 Page 2 of 6
amazon services


 Game Room Guys Set of 2 Pure USA Beeswax - 1 oz. Blocks (V::::w ama:-:on detai: page)



                                                      ASIN:   BOOACNUDES

                    II                                Product Name: Game Room Guys Set of 2 Pure USA
                                                      Beeswax - 1 oz. Blocks
                                                      Product ID: 840639120904
                                                      Product ID Type: upc
                                                      Manufacturer: Game Room Guys
                                                      Brand Name: Game Room Guys
                                                      Category (item-type): pool-cues

                                                      Marketplace: US

                                                      Competing Marketplace Offers
                                                      2 i\lirnt? from $6.82   + $0.00 shipping
                                                      Amazon Sales Rank: 105,214




 Vital Info     Variations              Cornpi{ance



 More Details
        Case 1:18-cv-00755-JTN-ESC ECF No. 19-1 filed 10/19/18 PageID.82 Page 3 of 6
amazon services·

 Game Room Guys Set of 2 Plastic Bumper Pool Liners (V:ew arric,z::in d&.:2ti! pc,ge)



                                                        ASIN: B004UBWFKI
                                                        Product Name: Game Room Guys Set of 2 Plastic

   I &~'
     ~
     _........ .,'
                                                        Bumper Pool Liners
                                                        Product ID: 840639117355
                                                        Product ID Type: upc
                                                        Manufacturer: Game Room Guys
                                                        Brand Name: Game Room Guys
                                                        Category (item-type): pool-table-parts-and-
                                                        accessories

                                                        Marketplace: US

                                                        Competing Marketplace Offers
                                                        2. f·k.iw from $7.83 + $0.00 shipping

                                                        Amazon Sales Rank: 163,905



 Vital info          Variations           Cornpiiancc



 More Details
.,                     Case 1:18-cv-00755-JTN-ESC ECF No. 19-1 filed 10/19/18 PageID.83 Page 4 of 6
                        SEE SOMETHING NEW, EVERY DAY.                                        TAKE A LOOK



                                         Sports & Outdoors ...                                                °'                                                                       Proceed to checkout
                                                                                                       Hello, D,w1d ..
                                          Departments       ~                                          Account & Lists             T      Orders           Prime~

 Sports & Outdoors           Sports & Fitness        Outdoor Recreation        Sports Fan Shop      Sports Deals     Outdoor Deals
                                        Force1 RC Orone Kids Adults - "X5UW' WiFi FPV Drone Camera Live Vide ...
                                                        197



Return to product informa,ion      Have one to seli?                  Every purchase on Amazon.com is protected by an A-t,:i-2 guarEint2E.
eedbatk on this page? TeU us. vJhat }'OU think

                                      Game Room Guys Plastic Web Pool Billiard Table Pockets - Set

 Ill                                  ofG
                                      by Game Room Guys



 Ill                                  Compare:    Offers for this product        Offers for this product and similar products




tefine by Cie~,· 31!                  Price+             Condition (L.::arr, me.~)     Delivery                     Seller                           Buying
                                      Shipping                                                                      Information                      Options
;hipping
:J Free shipping
                                       $29.69
                                      & FREE
                                                          New                           ., Arrives between
                                                                                            October 5-11.
                                                                                                                                                     IJ"~ddt~·~c
:ondition
2l New                                Shipping+                                             Want it delivered
                                       50.00                                                Wednesday, October
                                       estimated tax                                        3? Choose Local         over the past
                                                                                            Express Shipping at     12 months.
                                                                                            checkout.               (56total
                                                                                         ·· Si1ippi;10 rat:.~ and   ratings)                                        :~1:,'<'.J••~~".;;, "''   ~- ~, ··~,,,,, "'"'~\'\.·'A       ',   •,;.,,ft ".'-1]
                                                                                                                                                                    .,.s&ve\:J,fuJ later (G)                       ·                         J's;,
                                                                                            return pc!ic~,.                                                         t"t:   •    ,...   '             ~    ~    ,            '    >              ~· :




                                       $29.99             New                           • Arrives between
                                       &FREE                                               October 5-10.            :.,(.\::;·_·•·~ ,:
                                       Shipping+                                           Ships from Ml,
                                       $0.00                                               United States.
                                       estimated tax                                     · Shipph~g tcr~·-:~s and
                                                                                          Vi:lur;·i policy.         over the past
                                                                                                                    12months.
                                                                                                                    (7,263 total
                                                                                                                    ratings)




    Your recently viewed items and featured recommendations
    Related to items you viewed


                                                                                                                                            a~/'I,

                                                                                                                                  'C_?
                                                                                                                                  1'f:
                                                                                                                                   .•
                                                                                                                                       ·•o. fi.,
                                                                                                                                              .-.,;
                                                                                                                                             ,.,,,,·
                                                                                                                                              <,
                                                                                                                                                     •··


                                                                                                                                '             ',·.
                Tapi[t~ T//.2i<P ?dn1ary               Ct.10Stht !raarne;(i:;r:zi
                High   PreSS;..Iif:   DvuO\.t:         ?l:;stic V!eb ?ccj~'3t f::r
                                                       P()cil ·rat-le ~S~Y~ r/ ;;f                                                                     !CS
Case 1:18-cv-00755-JTN-ESC ECF No. 19-1 filed 10/19/18 PageID.84 Page 5 of 6




                                           J
Case 1:18-cv-00755-JTN-ESC ECF No. 19-1 filed 10/19/18 PageID.85 Page 6 of 6
